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Exhibit K

Community Letters
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December 04, 2019

Honorable Gershwin A. Drain
United States District Court

For the Eastern District of Michigan
Theodore Levin U.S. Courthouse
231 W. Lafayette Blvd., Room 751
Detroit, Michigan 48226

Re: United States of America v. Phanideep Karnati, et al.
Case No. 19-20026

Respected Judge Drain:

On January 07, 2020, Phanideep Karnati will stand before you to be sentenced on his plea to
harboring aliens.

| have known Phanideep Karnati for 7 years. | would like to offer you my thoughts about his
character. Phanideep, in short is very kind and caring person. He is always generous to the people
around him. He is very much committed and dedicated towards work. His support and committed
service to community is also commendable. He helps many non-profit organizations by volunteering his
most valuable time towards fund raising events. With his hospitality and caring attitude, he made me
feel like | am not in new place when | first landed in Louisville, KY on November 2012. He inspired us
many a times indeed.

Phanideep might have got realized what he had done was not so legitimate, legal guilt should
have made him suffer mentally and physically. Being only son of his parents, this whole thing made
them suffer pain and depression. His wife and kids are also so much worried looking at his situation.

| request and hope that all the good things and morale of Phanideep shall be considered in the
process of decision making

Yours faithfully,

Prasanna Kumar Pratafote

Prasanna Kumar Pentakota
4504 BIG TREE TRL
Leander, TX 78641
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December 8, 2019.

Venkatakrishna Rao JALA,
3115 Lake Vista Dr.
Louisville, KY-40241

Sub: Reference to Phanideep Karnati’s character in the community

To Honorable Judge,

| am Dr. Venkatakrishna R Jala, resident of Louisville, KY, USA and works as an
Associate Professor in the Dept. of Microbiology and Immunology at University of
Louisville, Louisville, KY.

| have known Mr. Phanideep Karnati for the last 3 years and got to know about him and
his family during our interaction at family/community gatherings in Louisville. My son is
one of the best friend of Karnati’s elder son and | use to meet their family during play
dates. This gave an opportunity to know their family much better. Mr. Karnati is a very
kind and fantastic individual with great helping attitude. It came as a big shock and
unbelievable about his involvement in issue of Farmington University. We knew, Karnati
as a lovable, sincere and hardworking individual in the community. He always talks about
achieving highest goals in academics and thirst for learning new things. His academic
credentials are outstanding as evident his pursuance and his commitment towards
obtaining his MSBA degree (very competitive degree) from University of Louisville in
addition to his Electrical & Electronics engineering degree from prestigious Indian
Institute, Jawaharlal Nehru Technological University Hyderabad. Previously, he never
had any criminal or civil or immigration related issues on his record and always maintained
his immigration status. Most importantly, he is very well-respected personnel in our
community.

He is very committed and responsible family person with wife and two younger kids (9
and 3-year-old boys). He also significantly supports his parents, who reside in India. The
family completely dependent on Karnati’s support. Due to this unfortunate incident, the
whole family in a great distress and unable to cope with pressure both mentally and
financially.

| strongly believe, Mr. Karnati is a completely transformed person and given the
opportunity, he will serve the community for greater good with more responsibility.

Best Regards

Venkatakrishna R Jala
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Enturi Family, December 12, 2019
Residents of St. Louis, MO

To Honorable Judge,

We have known Phanideep Karnati for a very long time since his childhood.
He is an extremely nice and very hard-working individual and never has the
intention to anything wrong or harm anyone, He excelled in education since
schooling. We are still in shock that this situation occurred in his life and his
parents in India are in an even worse condition. (t's horrible to see his
parents in this situation and to consider the fact that their circumstances will
only get worse based on the severity of this ruling. He has two children, ages
3 and 9 years old, who are attached very close to his father and miss their
father very much. They may not be able to bear to live without him for any
amount of time. This decision could drastically impact their lives and make it
to whether or not they have a successful future or end up having to work
harder in life than their father is working currently. Phanideep is the only
source of income for his household. This situation puts his family in the state
of not being able to afford rent or any other basic needs to survive and help
his two kids prosper. He also helps his parents in India financially and
morally so they can have a healthy and stable life there. Without him, him
and his family would suffer greatly with a lack of income or moral support.
We whole-heartedly implore you to have empathy for his situation and realize
the impact that this could have on his and his kids’ future.

 
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Rajesh Bagam December 15, 2019

Resident of Fairfax, Virginia

To the Honorable Judge

Phanideep Karnati is very best friend of mine since my childhood for over 23
years, I was both shocked and surprised to hear about his recent case as he
has always been a person with good ideologies and principles. It is for this
reason I am happy to write a letter of reference for Phanideep Karnati

regarding his character and personality.

In our friendship, he has always been there for me in all my ups and downs of
my life supporting me and guiding me. He has truly been a very good friend of

mine over the years.

In addition to our friendship, Phanideep Karnati has always been an upright
character and respectable person in the society. He always shares his
aspirations to reach greater heights in his career and life. Following his
goals he completed his masters in Business Analytics and pursuing his Ph.D.
in Artificial Intelligence from elite Institution.

Being with him as a good friend since childhood I assure, he has been raised
in a very good manner by his parents. He has always been an inspiration to
most of the people like me in regards of taking care of family, the way he is
raising the kids, caring about friends, career & education and contributing

to community.

As I know he is the only source to his family as he is taking care of his
parents who were back in India, his wife and two kids who are 9 years and 3

years old (born in US).

It is my sincere urge that the court takes this letter into consideration at
the time of sentencing. Despite this issue I still believe Phanideep Karnati
to be an honorable individual, a valuable member to the community, and a good

human being.

Rajesh Bagam.
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Re: Phanideep Karnati Character recognition

To the Honorable Judge

We are Phanideep Karnali's friands, working as IT professionals in USA, Wa have known
Phanideep for the past 19 years. VVe were in the same class in graduation.

We have come to know that Phanideep has been charged wilh 4 crirme and we were shocked to «+

hear that, Phanideap was a brilliant stuclent and he was one of (he most liked stuclent by our
Professor (Head of the department), We always thought that he is going lo achieve something
big in his professional carrier, He always encouraged our batch mates and juniors in graduation
to accomplish more in their education to settle well in their careers.

To our knowledge, he was guiding some of the students to gat into US universities for further
studies, We don't think he has done all (his with any criminal intent, he might not have

completely aware of the policies in US, We can certainly say that he ls a man of good character, _

hard worker and’ honest. He has always been a kind and generous Wilh peaple around him wilh
grow together motive,

We raques| you to mercifully consider all (he goad things and positive morale of Mr Karnati shall
be considered in the process of decision making.

Yours sincerely

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